                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION – DETROIT


In re:


MICHELLE DENISE STEWART,                                                        Case No. 10-41342-wsd
                 Debtor.                                                        Chapter 7
                                                                                Hon. Walter Shapero
_________________________________________/

                         OPINION REGARDING AWARD OF ACTUAL
                         DAMAGES, ATTORNEYS’ FEES, AND COSTS

                                                INTRODUCTION

         On September 19, 2013, the Court found Baldwin Summit, LLC, Royal Management,

LLC, and Marcus Evangelista (collectively the “Creditors”) in violation of the bankruptcy stay

and liable for conversion for improperly possessing and claiming title to some of Debtor’s

commercial equipment (“the equipment”). Debtor was awarded the return of this equipment, or

alternatively, a money judgment for its fair market value. The Court also awarded reasonable

attorney fees, costs, and actual damages to the Debtor and the present issue is the appropriate

amounts of these awards, which is brought before this Court by the Affidavit in Support of

Debtor’s Request for Attorney Fees, Costs and Damages, [ECF No. 140] (“Debtor’s Affidavit”),

and responses thereto.

                                            BACKGROUND FACTS1

         For three years this case has been contentiously litigated to determine Debtor’s rights in

the equipment she had used to operate a carry-out pizza restaurant, located within a leased

commercial space (“the premises”) at the Orion Village Shopping Center. In 2010, Debtor filed

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   The facts of the underlying litigation are explained in greater detail in the Court’s Opinion, In re Stewart, 499
B.R. 557 (Bankr. E.D. Mich. 2013).
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chapter 7 bankruptcy and began winding down this pizza business. Concurrently, Creditors

purchased2 the Shopping Center from Fifth Third Bank after the Bank foreclosed on the previous

landlords. Upon taking control of the Shopping Center, Creditors found Debtor’s equipment and

assumed it had been abandoned since the restaurant was no longer operating. Creditors claimed

title to all this remaining equipment. On November 18, 2010, Debtor filed a Motion to Compel

the release of the equipment. Five days later, Debtor filed a Supplementary Motion to Hold

Creditors in Violation of 11 U.S.C. §§ 362(a)(3),(6), and (7) and 11 U.S.C. § 727.

        Debtor initially retained attorney Raymond Mashni to file her chapter 7 bankruptcy. He

also filed the Motion to Compel, but once it became apparent that this matter would not be

amicably resolved, Debtor hired attorney Andrew Concannon to litigate the equipment recovery

issue. The litigation culminated into a two-day trial on April 30, 2013, and May 1, 2013. After

taking the matter under advisement, this Court found Creditors liable for conversion and for

violating the automatic stay with respect to $2,670 worth of the equipment—the only equipment

that was still located on the premises when Creditors took control of the Shopping Center.3 The

Court awarded Debtor the return of those pieces of equipment, or alternatively, a money

judgment of $2,670. Debtor elected to take the equipment. The Court also awarded her costs,

attorney fees, and actual damages, and instructed Debtor to file an affidavit detailing those

amounts she is seeking.

        Debtor filed the requested affidavit on October 21, 2013, seeking attorney fees for both

Mr. Concannon and Mr. Mashni, costs for Mr. Concannon, and actual damages. This was

accompanied by Mr. Concannon’s Affidavit, which itemized the fees and costs he incurred in


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     Baldwin Summit, LLC was the purchasing entity. The Shopping Center was then managed by Royal
Management, LLC. Dr. Stella Evangelista and Jose Evangelista are the sole managing members of both entities. Dr.
Evangelista’s son, Marcus Evangelista (“Mr. Evangelista”), is the general counsel and resident agent for both
entities. Mr. Evangelista has been representing Baldwin Summit, Royal Management, and himself during this case.
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    The total value of all property Debtor sought to recover was $9,370.
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this case. (Aff. in Support of Debtor’s Request, Oct. 21, 2013, ECF No. 139) (“the Fee

Affidavit”). Creditors filed a timely response. An evidentiary hearing was held on November 12,

2013 (“the Fee Hearing”), and the Court subsequently took the matter under advisement.

                                         STATEMENT OF JURISDICTION

          The Court has jurisdiction pursuant to 28 U.S.C. § 157(b)(1) as title 11 mandates the

assessment of attorney fees, costs, and damages for a violation of 11 U.S.C. § 362. E.g., In re

John Richards Homes Bldg. Co., 405 B.R. 192, 199 (E.D. Mich. 2009).

                                                     DISCUSSION

          In order to award the proper amount of reasonable attorney fees, this Court must

expressly calculate the “lodestar” amount. In re Boddy, 950 F.2d 334, 337 (6th Cir. 1991). This

amount is calculated “by multiplying the number of hours reasonably expended on the litigation

by a reasonable hourly rate.” Imwalle v. Reliance Med. Products, Inc., 515 F.3d 531, 551 (6th

Cir. 2008) (citing Hensley v. Eckerhart, 461 U.S. 424, 437 (1983)). Factors such as “novelty and

difficulty of the issues, special skills of counsel, and the typical compensation” are relevant

factors, but “the lodestar presumably subsumes all of these factors in its analysis of the

reasonable hourly rate and the reasonable hours worked.” In re Boddy, 950 F.2d at 338

(emphasis original). The Court will conduct separate lodestar analyses for Mr. Concannon’s and

Mr. Mashni’s fees.

     I.        Reasonable Attorney Fees and Costs for Andrew Concannon

          In total, Mr. Concannon is seeking $27,648.00 in attorney fees for 115.24 hours of

professional services rendered at a rate of $240 per hour. (Fee Aff. Ex. 1). Additionally, the costs

he seeks to recoup are $3,209.08. Id.




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     The Fee Affidavit states that the total was 116.6 hours, but 1.4 worth of hours were listed as no charge.
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               A. Reasonable Hourly Rate

       The first step in calculating the lodestar amount is to determine a reasonably hourly fee

for Mr. Concannon’s professional services. “A reasonable hourly rate is the prevailing market

rate in the relevant legal community for similar services by lawyers of reasonably comparable

skills, experience, and reputation.” In re Williams, 357 B.R. 434, 438–39 (B.A.P. 6th Cir. 2007).

At first glance, a fee of $240 per hour does not appear to be outside the range of reasonable rates

awarded to attorneys that litigate bankruptcy matters in this Court. See In re McLean Wine Co.,

Inc., 463 B.R. 838, 847 (Bankr. E.D. Mich. 2011) (upholding fees between $150–$355 per hour

for attorneys in a chapter 13 adversary proceeding); In re Sharp, 367 B.R. 582, 586 (Bankr. E.D.

Mich. 2007) aff'd, 07-12037, 2007 WL 3203134 (E.D. Mich. Oct. 31, 2007) (ordering an award

of attorney fees at $265 per hour for bankruptcy litigation).

       Upon further review, the Court finds that this rate is justified. At the Fee Hearing, both

parties stipulated to the admission of the 2010 State Bar of Michigan Economics of Law Practice

Survey (“the Bar Survey”) into evidence as a fair representation of the prevailing market rates

for attorneys throughout Michigan. This Survey publishes average hourly attorney rates based on

variables including practice area, firm size, regional location, and years of experience. Creditors

argue that based on this data, Mr. Concannon’s rate should be reduced to reflect the average rate

for an attorney practicing in Saginaw County of $192 per hour or the average rate for an attorney

whose office is located in Bay City/Midland/Saginaw of $182 per hour. (See Ex. 2 at 18, 22).

       The Court considers this approach to overemphasize Mr. Concannon’s office location at

the expense of his other relevant qualifications. In re Williams makes clear that the

reasonableness of his fee should also factor in his specific “skills, experience, and reputation.” In

re Williams, 357 B.R. at 438–39. It was undisputed at the hearing that Mr. Concannon has 19

years of experience, is an AV-rated attorney, is the president of his ten-attorney firm,

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customarily charges $240 per hour, and focuses much of his practice on litigation. (See Fee Hr’g

10:20, Nov. 12, 2013, ECF No. 145). According to the Bar Survey, attorneys with these

credentials tend to command much higher rates than the average rates Creditors seek to apply.

The 25th–75th percentile range of fees for attorneys in 7–10 member firms is $175–$259 per hour,

for attorneys that represent debtors in bankruptcy is $175–250, and for attorneys with 16 to 25

years of practice is $185–$300 per hour. (See Ex. 2 at 16–20). Mr. Concannon’s fee is well

within those ranges. Therefore, the Court concludes that Mr. Concannon’s $240 hourly rate is

reasonable in light of the prevailing market rates and his additional experience.

                  B. Number of Hours Reasonably Expended on the Litigation

          The next step of the lodestar analysis is to determine the necessary hours Mr. Concannon

expended on the litigation. In re Williams, 357 B.R. at 439. “While the burden is on the applicant

to justify a fee request, the bankruptcy court must expressly discuss the amounts that are not

supported by the application and provide a reasoning to support the court's decision.” Id.

(quoting In re Blain, 92-21240, 1995 WL 871180 (E.D. Mich. July 31, 1995)). Creditors object

to the amount of Mr. Concannon’s fee based on the following: (1) the unreasonableness of travel

expenses, (2) Mr. Concannon’s inability to timely produce Debtor’s inventory list as requested

by the Court, (3) that the total amount is unreasonable given Debtor’s limited success, and (4)

Debtor’s failure to mitigate damages. Creditors contend that Mr. Concannon should be awarded

no more than $1,500 in fees.

                       1. Travel Time

          First, Creditors seek to reduce Mr. Concannon’s fees by the amount of billable time and

costs5 he incurred during several trips between his office in Saginaw and the Court in Detroit.

Each one-way trip was approximately a two-hour, 110-mile drive, which was billed at Mr.


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     There were also additional charges for mileage expenses and in some cases overnight lodging.
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Concannon’s standard $240 hourly rate. Creditors claim that this matter did not require

specialized counsel from two hours away and thus all travel-related expenses are unreasonable.

In response, Mr. Concannon argues that because Debtor expressly assented to paying for his

travel time and expenses, they were justifiable.

          Although some travel expense is to be expected, “travel time for extensive distances and

travel time billed at counsel's reasonable hourly rate cannot be said to be reasonable.” Dominic's

Rest. of Dayton, Inc. v. Mantia, 3:09-CV-131, 2013 WL 4039032 (S.D. Ohio Aug. 7, 2013); but

see In re Braddy, 195 B.R. 365, 368 (Bankr. E.D. Mich. 1996) (upholding attorney’s regular

hourly rate for 45-minute drive to court for matters associated with chapter 13 case). There is no

bright-line rule for how much billable travel time is reasonable, but the federal court for this

district has supported an approach that balances several factors. In re Sapienza, 417 B.R. 1, 2

(E.D. Mich. 2009). In that case, the court upheld the bankruptcy court’s reduction in attorney

fees for travel time from two-and-a-half hours to one hour, and considered the following factors:

          (i) [T]he ‘nature of this case,’ . . . (ii) the need to balance the interest in ‘paying
          attorneys for their time’ against ‘making sure that debtors and creditors alike
          receive the full value that they can receive in a Chapter 13’ proceeding, (iii) the
          ability of attorneys to factor distance to the court into their fee estimates, and (iv)
          the fact that the resulting fee award, even with the reduced compensation for
          travel time, still exceeded both the ‘typical’ flat fee of $3,000 and the elevated flat
          fee of $3,500 for Chapter 13 cases featuring ‘special circumstances.’

Id. at 2 (quoting Hr’g Tr. at 7–10, In re Sapienza, No. 07-32486 (E.D. Bankr. Mich. Dec. 11,

2007)).

          Though In re Sapienza focused on attorney fees in the chapter 13 context, the Court finds

its reasoning persuasive and that several of its highlighted factors are applicable to this case.

Overall, this case did not present an overly unique set of circumstances that would require a

specialized attorney from outside of this region. To be sure, Mr. Concannon was a capable and

experienced attorney, but the Court also believes that local attorneys would have been equally

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equipped for this matter. Moreover, given the value of the property in controversy in this case

($9,370), it was unreasonable and inefficient for Debtor to agree to pay Mr. Concannon’s

customary hourly rate for travelling time, which amounted to nearly $1,000 in fees alone for

each round trip to Detroit.6 However, as In re Sapienza points out, attorneys do need to be paid

for their time. Id. And even if local counsel was retained in this case, she or he would likely still

incur some billable travel expenses. Therefore, the Court will attempt to strike a balance and

reduce the fees and costs associated with Mr. Concannon’s travel to Detroit by half. Under these

circumstances, it is unreasonable to pay an attorney more than one hour of travel expenses for

each one-way trip to a court appearance. See id.

                       2. Production of the Inventory List

          Creditors also argue that Mr. Concannon’s attorney fees should be reduced because he

failed to provide a correct and timely inventory list as required by the Court’s Order on

September 15, 2011 [ECF No. 90]. In their responsive brief, Creditors make the conclusory

statement that Mr. Concannon’s inability to promptly produce the inventory list caused

unnecessary legal fees and costs. (Creditors’ Resp. 4). The Court finds this argument

unpersuasive for two reasons. First, Creditors cannot highlight any additional hours in Mr.

Concannon’s itemized statement that he incurred from this delay. The inventory list may have

been filed late, but there is no indication that he expended more hours than necessary or

duplicated hours on the matter. Second, the fact that Debtor did not timely comply with the

Court’s request adversely affected her burden of proof on the merits of the case. The Court finds

no reason to punish Debtor again for this delay when it had no impact on the amount of

reasonable fees incurred by Mr. Concannon.




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     Approximating a two hour trip to and from Detroit multiplied by a $240 per hour rate.
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                   3. Debtor’s Success on Her Claims

       Creditors claim that further reduction of Mr. Concannon’s fees is necessary because

while Debtor was successful on her stay violation and conversion claims, she was not successful

on her claims for a bankruptcy discharge injunction violation.         Additionally, Debtor only

achieved partial recovery on the claims that she did prove. The Court found that she was entitled

to only some of the property she was seeking—$2,670 worth of equipment, instead of the $9,370

she sought. Creditors claim that awarding Mr. Concannon approximately eleven times the

amount of Debtor’s recovery is unreasonable.

       To support this argument, Creditors cite In re Juliao where this Court stated that “[w]hen

a professional’s efforts have failed to produce a significant benefit, the task of proving the

reasonableness of the fees to the Court becomes unsurprisingly more difficult.” In re Juliao, 07-

48694-WSD, 2011 WL 6812542, *10 (Bankr. E.D. Mich. Nov. 29, 2011). The Court agrees that

the amount of fees sought by Mr. Concannon is untenable in light of his client’s limited

recovery. However, since the attorney fees in In re Juliao were to be paid out of the chapter 13

estate as administrative expenses, this Court had to consider the benefit the litigation provided to

the entire estate—i.e., the other creditors. Id. at *8. Here, the attorney fees to be paid will not

reduce the recovery for other creditors, thus alleviating some of that concern. Moreover, of

particular relevance is the Code’s objective underlying the award of attorney fees under § 362,

which is to discourage creditors from violating the automatic stay. See In re McLaughlin, 96

B.R. 554, 560 (Bankr. E.D. Pa. 1989). The fact that Creditors were defiant in their violation and

unwilling to unilaterally return Debtor’s property militates in favor of a significant award of

attorney fees to accomplish this objective.

       It is also relevant that the violation the Court seeks to remedy is more serious than a mere

technical violation of the automatic stay. See In re Grine, 439 B.R. 461, 467 (Bankr. N.D. Ohio

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2010) (holding that creditor violated the automatic stay by sending two billing statements in error

and awarding $560 in attorney fees); see In re Price, 179 B.R. 70, 72 (Bankr. S.D. Ohio 1995)

(noting that mailing one collection letter was technically a stay violation, but assessing only $75

in attorney fees due to the lack of severity). Creditors’ culpability in this matter is compounded

by the fact that they fought vehemently to preserve their supposed interest in Debtor’s

property—a continuous and serious violation of the automatic stay. When a creditor refuses to

comply with the automatic stay until ordered by a court, it follows that the attorney fees required

to bring about that judicial enforcement—though relatively high—are more likely to be found

reasonable and necessary. Compare In re Sharon, 234 B.R. 676, 688 (B.A.P. 6th Cir. 1999)

(upholding lower court’s award of $2,122.50 in attorney fees that were spent to force creditor

through litigation to return debtor’s vehicle), with In re Risner, 317 B.R. 830, 840 (Bankr. D.

Idaho 2004) (declining to award attorney fees for a violation of the automatic stay where creditor

made one phone call to the debtor and the resulting litigation was unnecessary to halt the

offending behavior).

       Presumably, had Debtor not litigated this case as aggressively as she did, Creditors would

have taken unfettered ownership of her equipment. Although Creditors complain that the amount

of attorney fees requested are excessive in light of the value of Debtor’s recovery, Creditors

ignore the fact that their unrelenting refusal to return Debtor’s property was the direct cause of

the majority of this litigation. Debtor’s recovery was less than she sought, but this is not to say

that it was insignificant. This equipment was necessary for Debtor to restart another restaurant

business. This point is illustrated by the fact that she has elected to take possession of the

equipment rather than a money judgment for its value. Mr. Concannon’s fees will be reduced by

hours expended that were not reasonable or necessary; however, given the fact that Creditors

caused most of this litigation, his total fee award will still be high relative to Debtor’s recovery.

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                   4. Duty to Mitigate

       Although Creditors created many barriers to Debtor’s recovery, she “[wa]s also under a

duty to mitigate [her] damages.” In re Harris, 374 B.R. 611, 616 (Bankr. N.D. Ohio 2007).

“[T]his means that after reasonable offers of settlement are made, any attorney fees incurred

thereafter must be borne by the debtor.” Id.; see also In re Esposito, 154 B.R. 1011, 1015 (Bankr.

N.D. Ga. 1993) (reducing attorney fee award when parties should have settled an automatic stay

violation). The testimony at the Fee Hearing indicated that Mr. Evangelista offered to settle with

Debtor at the pre-trial conference. (Fee Hr’g 10:43). Although the attorneys debated the

reasonableness of those terms, it was an undisputed offer by Creditors to return the majority of

Debtor’s property still on the premises. To be sure, it was likely not all Debtor sought to recover

in this case. But Debtor did not take seriously the opportunity to engage in productive

negotiations and avoid the expense of trial. Debtor’s counsel admitted at the Fee Hearing that

Creditors’ offer was not attractive because it “did not include attorney fees, treble damages, or

anything else” aside from the return of the property already on the premises. (Id. at 10:44).

       Section 362 violations should not be considered a profit-making venture. See In re

Russell, 448 B.R. 212, 218 (Bankr. N.D. Ohio 2011). “The automatic stay afforded by section

362 is intended to be a shield protecting debtors and their estates, and should not be used as a

sword for their enrichment.” In re McHenry, 179 B.R. 165, 169 (B.A.P. 9th Cir. 1995). Debtor’s

success at trial was, at most, a marginal improvement from Mr. Evangelista’s pre-trial settlement

offer. Instead of exploring that offer, the matter was further litigated at the prospect of

maximizing Debtor’s recovery. This resulted in significant increases in Mr. Concannon’s fees

with no commensurate benefit. The Court therefore concludes that as of October 16, 2012, this

matter could have been settled and future litigation avoided. All hours expended by Mr.

Concannon after this date will be removed from his lodestar calculation.

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                      5. Miscellaneous Reductions

         The Court will also reduce Mr. Concannon’s bill by the hours spent preparing for and

deposing Mr. Evangelista on April 20–21, 2011. This amounts to 6.4 hours of billable time that

did not produce any information that was reasonably necessary for Debtor’s case. Upon review

of Debtor’s subsequent briefs,7 the Evangelista deposition record is cited minimally, and only for

the proposition that Creditors were claiming title to the equipment—an element that had been

undisputed. Finally, Mr. Concannon lists several billing entries for “receiving” documents at 0.2

increments, which are either billed individually or lumped together with other tasks. (Fee Aff.

Ex. 1). Without further explanation from Mr. Concannon, the Court must conclude that

“receiving” documents is not a billable task that merits a $240 per hour fee. Accordingly, the

lodestar amount will be reduced by fourteen 0.2 hour billable entries,8 totaling 2.8 hours.

                  C. Total Awarded Attorney Fees and Costs for Mr. Concannon

         To implement the appropriate reduction for travel time, the Court will factor in a six-hour

reduction based upon Mr. Concannon’s six trips to and from court appearances.9 Further, the

time expended after October 16, 2012, will be removed, which amounts to fourteen billing

entries totaling 43.3 hours. The Court will exclude 6.4 hours for the Evangelista deposition and

2.8 hours for unnecessary “receiving” time. The Court finds that all other hours sought by Mr.

Concannon were necessary and actually incurred at a reasonable hourly rate of $240 per hour.

The total lodestar amount is thus 56.7 hours multiplied by $240 per hour, for a total of

$13,608.00.




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    Debtor’s Resp. to Summ. J., ECF No. 64; Debtor’s Findings of Fact and Conclusions of Law, ECF No. 106;
Debtor’s Supplementary Post-Trial Brief, ECF No. 136.
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    These correlate to entries on Jan. 1, 2011; Jan. 27, 2011 (2x); Feb.7, 2011; Mar. 28, 2011 (2x); Mar. 29, 2011;
Apr. 1, 2011; June 3, 2011; June 14, 2011; Aug. 25, 2011; Aug. 29, 2011; Aug. 30, 2011, and Feb. 15, 2012.
  9
    Pertaining to the following dates: Jan. 12, 2011; Jan. 13, 2011; Aug. 31, 2011 (2x); Sept. 27, 2011; and Sept. 28,
2011. There was also travel time after October 16, 2012, but this is removed for the other noted reason.
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Fees Sought:                                      115.2 hours                     $27,648

                    - Travel Time                                  (6.0)                          ($1,440)

                    - Evangelista Deposition                       (6.4)                          ($1,536)

                    - “Receiving” Time                             (2.8)                          ($672)

                    - Post-Oct. 16, 2012 Time                      (43.3)                         ($10,392)
Fees Awarded                                      56.7 hours                      $13,608


        Mr. Concannon’s costs will be similarly reduced. The Court will reduce the mileage costs

associated with each of Mr. Concannon’s trips to court by half.10 The entire mileage expense

associated with the unnecessary Evangelista deposition on April 21, 2011, will be excluded.

Costs will also be reduced by the overnight lodging expenses,11 given that it was unnecessary for

Debtor to retain out-of-town counsel as noted above. Finally, the Court will decline to award

costs incurred after the October 16, 2012, relating to additional prosecution of this case beyond

what was reasonably necessary—six billing entries totaling12 $996.15. The Court finds that all

other costs listed in Mr. Concannon’s Fee Affidavit were necessary and reasonable, and he is

awarded a total of $1,339.79.


               Costs Sought:                                         $3,209.08

                                     - ½ Mileage Expense                            ($240.50)

                                     - Evangelista Deposition                       ($97.92)

                                     - Lodging Expenses                             ($534.72)

                                     - Post-Oct. 16, 2012, Costs                    ($996.15)
               Costs Awarded                                         $1,339.79




  10
     These days were Jan. 12, 2011; Jan. 13, 2011; Aug. 31, 2011; Sept. 27, 2011; and Jan. 28, 2011. The costs
associated were $109.14, $124.32, $120.99, $126.54, respectively, for a total of $480.99. Half of this amount is
$240.50. There is no billing entry for the mileage incurred on Jan. 12, 2011.
  11
     These costs total $534.72 for entries dated Jan. 12, 2011; Sept. 27, 2011; and Sept. 28, 2011.
  12
     Pertaining to entries for: $62.15; $62.15; $15.00; $40.00; $119.70; $697.15.

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   II.      Reasonable Attorney Fees for Raymond Mashni

         Debtor also seeks attorney fees for Attorney Raymond Mashni in the amount of $3,500

for drafting the initial Motion to Compel and providing some assistance to Mr. Concannon

throughout this case. Mr. Mashni did not provide any affidavit or detailed itemization of the fees

he seeks in this matter. Instead, Mr. Concannon conducted a direct exam of Mr. Mashni at the

Fee Hearing to create a record. Mr. Mashni testified that his fee represents 17.5 hours of billable

hours—multiplied by an hourly rate of $200 per hour—but is actually only “a fraction” of what

he spent working on this case. (Fee Hr’g 9:53).

         The Sixth Circuit has instructed that when a party is seeking attorney fees, the “[p]laintiff

has the burden of providing for the court's perusal a particularized billing record.” Perotti v.

Seiter, 935 F.2d 761, 764 (6th Cir. 1991). “Although counsel need not record in great detail each

minute he or she spent on an item, the general subject matter should be identified.” Imwalle v.

Reliance Med. Products, Inc., 515 F.3d 531, 553 (6th Cir. 2008) (internal citations and

quotations omitted). Finally, “[i]n obtaining the number of hours expended on the case, the

district court must conclude that the party seeking the award has sufficiently documented its

claim.” United Slate, Tile & Composition Roofers, Damp & Waterproof Workers Ass'n, Local

307 v. G & M Roofing & Sheet Metal Co., 732 F.2d 495, 502 (6th Cir. 1984).

         The Court can readily conclude that Mr. Mashni’s complete lack of billable time

documentation is insufficient to support his claim. Mr. Mashni attempted to haphazardly

construct a record from memory by recanting on the witness stand tasks he completed on this

case over the past three years, with no reference to specific dates or times. He has offered no

contemporaneous record upon which this Court can base a reasonable award of attorney fees. See

United Slate, 732 F.2d at 502. (“Where the documentation is inadequate, or recently compiled

retrospective estimations of time expended, the district court would do violence to its judicial

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obligations were it to accept the amounts claimed at their value.”). He has fallen well short of his

burden to provide documentation with “sufficient detail and probative value to enable the court

to determine with a high degree of certainty that such hours were actually and reasonably

expended in the prosecution of the litigation.” Id. at 502 n.2. The Court “will not indulge in

extensive labor and guesswork to justify a fee for an attorney who has not done so himself.” In re

New Boston Coke Corp., 299 B.R. 432, 438 (Bankr. E.D. Mich. 2003) (quoting In re Woodward

East Project, Inc., 195 B.R. 372, 375 (Bankr. E.D. Mich. 1996)). Therefore, the Court declines to

award Mr. Mashni the $3,500 he seeks in attorney fees.

   III.      Actual Damages

          Debtor also requests $21,000 for the installation costs of the Reznor Makeup air unit as

actual damages, which she claims the Court excluded from its earlier judgment. However, as this

Court explained at the Fee Hearing, this is an issue with the Court’s disposition that must be

dealt with properly as a post-judgment motion. The Court did not find that Debtor met her

burden to prove that Creditors converted or violated the stay with respect to the Reznor unit. Any

position contrary to that will require the Court to reconsider its prior decision. Thus, the Court

declines to award the requested actual damages.

                                           CONCLUSION

          For the reasons set forth, the Court finds that the reasonable amount of attorney fees

awardable to Mr. Concannon is $13,608. Additionally, he is entitled to recover $1,339.79 worth

of costs associated with this litigation. Mr. Mashni, for failing to provide the Court with

sufficient documentation of his time, is not entitled to recover any attorney fees. Lastly, the

Court finds that Debtor has not proven that she incurred any actual damages. The Court will

enter an appropriate order.
                                                  .



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Signed on March 07, 2014
                                          ____ __/s/ Walter Shapero_    ___
                                             Walter Shapero
                                             United States Bankruptcy Judge




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